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17
18                              UNITED STATES DISTRICT COURT
19                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                                     WESTERN DIVISION
21
       AL OTRO LADO,                               No. CV 21-03462-CAS (MAAx)
22
                  Plaintiff,                       JOINT STATUS REPORT
23
                         v.                        Hon. Christina A. Snyder
24                                                 United States District Judge
       U.S. IMMIGRATION AND
25     CUSTOMS ENFORCEMENT, et al.,
26                Defendants.
27
28
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1           Plaintiff Al Otro Lado and defendant U.S. Immigration and Customs Enforcement
2     (“ICE”) submit this joint status report in advance of the status conference scheduled for
3     September 11, 2023, at 11:00 a.m.
4           By this action, Plaintiff seeks the release of records from ICE under ten separate
5     requests made pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.
6     See First Amended Complaint (“FAC”) (Dkt. 46). ICE filed an answer to the FAC on
7     October 4, 2021. Dkt. 48. As of October 4, 2021, ICE had processed 1,677 pages of
8     documents and released 1,020 pages of documents in full or part. By March 9, 2022,
9     ICE had processed 3,375 pages of documents and released 1,929 pages in full or part.
10    ICE processed a total of 3,701 pages between March 28, 2022 and June 6, 2022. By
11    November 17, 2022, ICE has processed 10,725 pages of documents and 7 videos.
12          On February 21, 2023, the Court ordered the parties to file a joint status report no
13    later than May 26, 2023 and set a status conference for June 5, 2023. Dkt. 61. Since the
14    Court’s February 21, 2023 Order, ICE performed additional searches in response to
15    discussions between the Parties regarding FOIA exemptions and searches. As a result of
16    this collaborative effort, ICE has processed an additional almost 2500 pages of
17    documents, 2 Excel spreadsheets, and a video and released nearly 1500 pages of
18    responsive records, 2 Excel spreadsheets, and a video to Plaintiff. Dkt. 63 at 2. On May
19    26, 2023, in response to the parties’ last status report of the same date, the Court ordered
20    the parties to file another status report by August 24, 2023, and scheduled a further status
21    conference for September 11, 2023. Dkt. 64.
22          On June 20, 2023, the parties conferred on the status of the production, issues
23    regarding the adequacy of the search and the application of exemptions, and the potential
24    for global resolution. The parties followed up on action items from that conference and
25    conferred again on July 27, 2023. In response to discussions between the parties, ICE
26    conducted supplemental searches in response to two of the FOIA requests and processed
27    an additional 32 pages and 13 videos.
28          As of the filing of this report, the parties have completely resolved adequacy-of-
                                                   2
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1     search issues as to all ten FOIA requests, except for open questions on whether text
2     messages and Office of Professional Responsibility investigation file should be searched,
3     which is being investigated. Regarding the application of exemptions, Plaintiff intends
4     to provide a complete list of exemptions that are being questioned, which is limited to
5     less than 500 pages and possibly a few videos. ICE is also continuing to process
6     responsive videos—which it contends is a time-consuming and laborious task—and is
7     scheduled to finish processing another video by August 31, 2023. It is anticipated that it
8     will take several more months to process all remaining responsive videos.
9            The parties have been unable to reach a resolution on Count Two, regarding
10    Plaintiff’s allegations that ICE has pattern and practice of failing to issue timely
11    determinations. On June 28, 2022, the Court entered an order consistent with the parties’
12    proposed briefing schedule and ordered the parties file a Joint Report by June 30, 2022
13    regarding whether discovery regarding Plaintiff’s pattern and practice claim was
14    appropriate. Dkt. 56. On June 30, 2022, the parties filed a joint report arguing their
15    respective positions regarding discovery. Dkt. 57. Although ICE maintains that a pattern
16    and practice claim is not appropriate in this context, Plaintiff now requests that the Court
17    rule on whether discovery regarding Plaintiff’s pattern and practice claim is appropriate
18    in this case. Such a ruling may assist the parties in reaching a resolution regarding Count
19    Two.
20      Dated: August 24, 2023                 Respectfully submitted,
21                                             AL OTRO LADO, INC.
22
23                                              /s/ Jeremy Jong
                                               JEREMY JONG*
24
                                               Attorneys for Plaintiff
25                                             Al Otro Lado, Inc.
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                                                    3
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10
11
12          *Pursuant to Local Rule 5-4.3.4(2), the filer attests that all signatories listed, and

13    on whose behalf the filing is submitted, concur in the filing’s content and have

14    authorized the filing.

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